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15   B.L.N., D.F.L.G., and W.B.
16
17                            UNITED STATES DISTRICT COURT
18                          CENTRAL DISTRICT OF CALIFORNIA
19   JENNY L. FLORES, et al.,                  Case No. 2:85-cv-04544-DMG-AGRx
20                                             [Judge: Hon. Dolly M. Gee]
21                      Plaintiffs,            DECLARATION OF CATHERINE L.
                                               TROISI IN SUPPORT OF
22        vs.                                  PROPOSED INTERVENORS’ EX
                                               PARTE APPLICATION FOR
23                                             LEAVE TO INTERVENE
24   EDWIN MEESE, et al.,
25                      Defendants.
                                               Date Action Filed: July 11, 1985
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         DECLARATION OF CATHERINE L. TROISI IN SUPPORT OF PROPOSED INTERVENORS’ EX PARTE
                             APPLICATION FOR LEAVE TO INTERVENE
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 1   I, Catherine L. Troisi, declare as follows:
 2                                          Introduction
 3           1.   My name is Catherine L. Troisi. I am over the age of eighteen (18), of sound
 4    mind, and in all respects competent to testify. The facts stated herein are true, correct,
 5    and within my personal knowledge.
 6           2.   I have been asked by counsel for plaintiffs to opine on the novel coronavirus
 7    and its implications on children in detention in Texas. Based on my 40 years of
 8    experience as an epidemiologist and work in public health in the area of infectious
 9    disease epidemiology specializing in viruses, I have reached the following high level
10    conclusions, which are supported in more detail throughout my declaration:
11             !■ SARS-Cov-2, the causative agent of COVID-19, is widespread throughout
12                Texas and has cases and deaths are increasing.
13             !■ The virus is spread from person to person through the air and on
14                environmental surfaces. Therefore, congregate gatherings contribute to virus
15                spread.
16             !■ The risk of infection increases with time spent in congregate settings.
17                                         Qualifications
18           3.   I am an infectious disease epidemiologist and public health expert as well as
19    an Associate Professor in the Department of Management, Policy, and Community
20    Health and Department of Epidemiology, Human Genetics, and Environmental
21    Sciences and Center for Infectious Diseases at the University of Texas Health Science
22    Center at Houston, School of Public Health and an Adjunct Associate Professor at
23    Baylor College of Medicine.
24
             4.   I have a B.A. in Chemistry from The University of Rochester (NY) in 1974,
25
      an M.S. in Biochemistry from Michigan State University in 1975, and a PhD in
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      Epidemiologic Sciences from The University of Michigan in 1980, specializing in
27
      influenza studies. I completed a postdoctoral position at Baylor College of Medicine in
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                                                   11
         DECLARATION
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                  OF CATHERINE      L. TROISI
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 1   the Department of Virology and Epidemiology. I am a graduate of the National Public
 2   Health Leadership Institute at the University of North Carolina and have received post-
 3   doctoral training in epidemiologic techniques and public health preparedness.
 4         5.   My forty-year career in public health has been in the area of infectious
 5   disease epidemiology specializing in viruses. I was on the faculty in the Department of
 6   Virology and Epidemiology at Baylor College (the name was changed to Department of
 7   Molecular Virology during my tenure there) from 1983-1996, and I joined the faculty
 8   at University of Texas Health Science Center at Houston School of Public Health in
 9   Disease Control and Biological Sciences in 1997. I left academia in 2003 for seven years
10   to practice public health at the Houston Health Department, beginning as Bureau Chief
11   for HIV/STD and Viral Hepatitis Prevention, was promoted to Assistant Director of the
12   Health Department, overseeing the Division of Prevention and Communicable Diseases,
13   and finally creating and filling a new position as Director of Public Health Practice. I
14   rejoined the UTSPH faculty in 2010, in the Departments of Management, Policy, and
15   Community Health and Epidemiology, Human Genetics, and Environmental Sciences
16   and the Center for Infectious Diseases.
17         6.   I was Incident Commander in the National Incident Management System
18   structure (i.e., in charge of the Houston Health Department's
                                                      Department’s response) in 2009 for the
19   H1N1 influenza pandemic, a respiratory virus.
20         7.   I am also currently an elected Executive Board Member of the American
21   Public Health Association, a Board Member of International Network of
22   Epidemiology in Policy, an Elected Fellow, Texas Public Health Association, a
23   member of the National Association of County and City Health Officials
24
     epidemiology workgroup, and a member of the American College of Epidemiology. I
25
     have received several awards and honors including the Excellence in Community
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     Service Award, UTSPH, 2013 and 2019, and the Association of Schools and Programs
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     in Public Health Service Award, 2018. I was elected to Sigma Xi (Scientific Honor
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 1    Society) in 1979, received a fellowship from the University of Michigan 1977-1980,
 2    and was a Eugene B. Casey Fellow at Baylor College of Medicine. I have testified
 3    before the US House of Representatives Committee on Homeland Security, Ebola
 4    Preparedness (October 2014, Dallas, TX), Governor Perry’s
                                                        Perry's Task Force on Public
 5    Health Prevention, Ebola Preparedness (October 2014, Austin, TX), the Texas House
 6    County Affairs Committee, Syringe Exchange Programs (April 2019, Austin, TX), and
 7                                           21st Judicial District, Travis County, Texas
      provided expert testimony in the Texas 21st
 8    Democratic Party, et al vs. Dana Debeauvoir and the State of
                                                                of Texas, April 2020. I
 9    have also submitted an expert declaration in Lewis, et al. v. Hughes, No. 5:20-cv-
10    00577 (W.D. Tex 2020) and LaRose, et al vs. Steve Simon, MN
                                                               MN Secretary of
                                                                            of State, No.
11    62-CV-20-3149.
12           8.    Attached as Appendix A and incorporated by reference to this declaration
13    is a copy of my curriculum vitae.
14                                      Background on COVID-19
15            9.   The first reports of this novel coronavirus, now named SARS-CoV-2,
16    occurred on December 31, 2019. The first confirmed case in the United States was noted
17    one month later on January 20, 2020. In the nearly six months since that first confirmed
18    U.S. case, there have been over 3.7 million cases in all 50 states plus District of
19                                                              2020.1 Forty-seven states,
      Columbia with over 140,500 deaths reported as of July 18, 2020.1
20    including Texas, are currently experiencing an increase in cases as states begin to reopen
21    from shelter-in-place orders, and the U.S. as a whole has experienced a 41% increase in
22
                         weeks.2
      cases over the two weeks.2
23
             10. The COVID-19 infection is caused by the SARS-CoV-2 virus and is spread
24
      in two ways: (1) by the respiratory route (through the air and through mucous
25
26
            11 https://gisanddata.maps.arcgis.com/apps/opsdashboard/index.html#/bda7594740fd40299423467b48e9ecf6
27          accessed July 19, 2020
             2
            2 https://www.cdc.gov/coronavirus/2019-ncov/php/public-health-recommendations.html accessed July 19,
28   2020
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 1   membranes), and (2) by fomites, that is, environmental surfaces that are contaminated
 2   with the virus. While droplet transmission is thought to be the main route of respiratory
 3   transmission, there is evidence that aerosol spread can occur as well under certain
 4   circumstances.33 The importance of this route is that aerosols can linger in the air, unlike
     circumstances.
 5   droplets, and thus enhance transmissibility of the virus. SARS CoV-2 can also be found
 6                                                                    known.44
     in feces, although importance of this in transmission is not yet known.
 7             11. Although the complete epidemiology of SARS-CoV-2 in children has not
 8   been elucidated, a recent report found that children ages 9 years and older transmit the
 9                    adults.5
     virus as well as adults.'
10             12. Reported illnesses from SARS-CoV-2 have ranged from no to mild
11   symptoms to severe illness and death. Symptoms can include fever, dry cough, and
12   shortness of breath. In addition to lung damage, the virus can cause damage and failure
13                                                intestines.6 When severe, COVID-19 is a
     of other organs including heart, kidney, and intestines.6
14   systemic illness characterized by hyperinflammation, cytokine storm, and elevations of
15                  biomarkers.7 Forty percent of deaths from COVID-19 are due to cardiac
     cardiac injury biomarkers.7
16   damage, and these serious consequences can occur even after respiratory symptoms are
17   resolved.8 There are reports of some individuals who clear the infection but suffer effects
     resolved.8
18                          months.9 Children generally do not have severe disease from
     from the infection for months.9
19   COVID-19, but recently there has been recognition of multi-system inflammatory
20
21
22
           3
23         https://www.who.int/publications/i/item/modes-of-transmission-of-virus-causing-covid-19-implications-
           3
         for-ipc-precaution-recommendations
24       4
         4 https://wwwnc.cdc.gov/eid/article/26/8/20-0681_article
           https://wwwnc.cdc.gov/eid/article/26/8/20-0681 article accessed 6/6/20
         5 https://wwwnc.cdc.gov/eid/article/26/10/20-1315_article
         5 https://wwwnc.cdc.gov/eid/article/26/10/20-1315 article
25       6
         6 https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(20)30937-5/fulltext accessed 6/6/20
         7
26         ibid
         8
         8 https://jamanetwork.com/journals/jamacardiology/fullarticle/2763843 accessed 6/6/20
27       9
         9 https://www.theatlantic.com/health/archive/2020/06/COVID-19-coronavirus-longterm-symptoms-
         months/612679/?utm_source=email&utm_medium=cr&utm_campaign=jeff-letter-
         months/612679/?utm     source=email&utm medium=cr&utm campaign=jeff-letter-
28       actives&utm_content=20200606&silverid-ref=NjIzNjE1NzU4MjkxS0
         actives&utm    content=20200606&silverid-ref=NjIzNjElNzU4MjkxSO accessed 6/5/20
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 1     syndrome in SARS-CoV-2 infected children.10
                                       children.10 There also is concern that there may be
 2     long term consequences of infection in children.11,12
                                              children.11,12
 3                 13. According to the CDC, certain groups such as those over 65 years of age and
 4     those with certain underlying medical conditions (including chronic lung disease such
 5     as moderate to severe asthma, chronic heart disease, diabetes, obesity, chronic kidney
 6     disease, liver disease, immunosuppression) are at higher risk of serious illness and death
 7     from COVID-19.13
            COVID-19.13                                                  outcome.14
                        Pregnant women are at increased risk of a severe outcome.'
 8     However, anyone can be infected with COVID-19 and suffer serious outcomes.15
                                                                        outcomes.15 Rates
 9     of hospitalization increase with age.16
                                            16

10                 14. Racial minorities have been particularly affected by this pandemic for
11     several reasons. They are more likely to get infected due to increased possibility of
12     exposure (crowding, essential jobs that interact with the public) and, once infected,
13     experience worse outcomes. Race and ethnicity has not been routinely captured on test
14     results reporting to health departments, although that will change in a few months, but
15     we do have hospitalization data showing Blacks are overrepresented among hospitalized
16                                                          area.9 Other vulnerable
       COVID-19 patients compared to the hospital catchment area.9
17     populations include Native Americans, who have five times the COVID-19 age-adjusted
18                                                    whites.17
       hospitalization rates compared to non-Hispanic whites.17
19                 15. Scientists estimate that between 40-45% of infected individuals will either
20     never show symptoms or have very mild symptoms, but they can transmit the virus to
21
22
              10
              1° https://emergency.cdc.gov/han/2020/han00432.asp accessed 6/6/20
23            11 https://www.winknews.com/2020/07/17/health-officials-worry-about-long-term-effects-of-covid-19-on-
              11 https://www.winlmews.com/2020/07/17/health-officials-worry-about-long-term-effects-of-covid-19-on-

24   kids/
              12
              12   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2870533/
                   https://www.ncbi.nhn.nih.gov/pmc/articles/PMC2870533/
25            13
              13   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html accessed
                   https://www.cdc.gov/coronavirus/2019-ncovineed-extra-precautions/people-at-higher-risk.html
     6/7/20
26            14
              14 https://www.cdc.gov/mmwr/volumes/69/wr/mm6925a1.htm?s_cid=mm6925a1_w
                 https://www.cdc.gov/mmwevolumes/69/wrimm6925al.htm?s       cid=mm6925a1 w
              15
27            15 https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html accessed 4/11/20
              16
                 https://www.cdc.gov/mmwr/volumes/69/wr/mm6915e3.htm?s_cid=mm6915e3_w
              16 haps ://www.cdc.gov/mmwevolumes/69/wrimm6915e3.htm?s cid=mm6915e3 w
28            17 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/racial-ethnic-minorities.html
              17 https://www.cdc.gov/coronavirus/2019-ncovineed-extra-precautions/racial-ethnic-minorities.html

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 1     others up to 14 days following infection. Even those who do not have symptomatic
 2                                                   virus.18,19
       disease may suffer long term effects from the virus.18'19
 3                16. The novel coronavirus is detected through use of a reverse-transcriptase
 4                                        test.20 Sampling technique is important and needs
       polymerase chain reaction (RT-PCR) test.2°
 5     to be performed by a trained professional in order to minimize the chances of a false
 6     negative result, that is a negative result in someone who is infected with the virus. While
 7     improving, there has not been adequate testing for the virus anywhere in the United
 8     States, including Texas, due to a lack of test kits, lack of testing supplies, and lack of
 9                                                                              samples.21,22
       personal protective equipment to protect those healthcare workers taking samples.21'22
10                17. Within my area of expertise, social distancing and masks, frequent
11     handwashing, and environmental disinfection are the only ways to limit the spread of
12         virus,23 as there is no FDA-licensed vaccine that could be administered to elicit
       the virus,23
13     immunity to the virus.
14                18. Social (also called physical) distancing refers to maintaining a distance of at
15     least 6 feet between persons. Social distancing is a proven method to stop the spread of
16                                                                   route.24 As noted, the novel
       viruses such as the novel coronavirus through the respiratory route.24
17     coronavirus is spread through droplet transmission. These droplets are produced through
18     coughing, sneezing, talking, and singing. The droplets are fairly heavy, and most studies
19     have shown that they cannot travel more than approximately 6 feet,25
                                                                    feet,25 although under
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21
22           18
             18  https://www.acpjournals.org/doi/10.7326/M20-3012
             19
23           19  https://www.nature.com/articles/s41591-020-0965-6.pdf
              20
             2° https://jamanetwork.com/journals/jama/fullarticle/2762997
24            21
             21 https://www.nytimes.com/2020/03/28/us/testing-coronavirus-pandemic.html
              22
             22 https://www.wbur.org/onpoint/2020/03/18/COVID-19-testing-in-the-u-s
25            23
             23 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html accessed 4/10/20

26            24
             24 https://www.nap.edu/catalog/25753/rapid-expert-consultation-on-social-distancing-for-the-COVID-19-
     pandemic-march-19-2020
27            25
             25 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-
     sick/prevention.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
     sick/prevention.html?CDC    AA refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
28   ncov%2Fprepare%2Fprevention.html
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      DECLARATION OF CATHERINE
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 1                                                     distance.26 Therefore masks are
       certain circumstances, they can travel a longer distance.26
 2     recommended as well as physical distancing. Non-medical (e.g., cloth) masks have been
 3     shown to prevent an infected person from transmitting infection and evidence is
 4     accumulating wearing one can protect the wearer from acquiring viral infection.27
                                                                            infection.27
 5                  19. Frequent handwashing is also recommended because the virus can be spread
 6     when, for example, an infected person coughs into their hand and touches a surface
 7     which another person then touches and, without washing their hands, touches their eye
 8                              way.28 Infected persons, whether or not they have symptoms,
       can become infected this way.28
 9                                                                                        virus.29
       can spread the virus to others, and we are learning that this is a very infectious virus.29
10                  20. Any place where people gather and cannot maintain physical distancing,
11     such as a congregate setting, represents a heightened danger for transmission of COVID-
12     19 disease. Transmission of the virus can take place between detainees or between
13     workers who have acquired infection in the community, and detainees. This is
14     particularly important because some people who are infected with the novel coronavirus
15     do not have any symptoms but can transmit the virus and/or are infectious before they
16             symptoms.30 This means that isolating only symptomatic persons will not stop
       develop symptoms.3°
17     the spread of infection. Instead, we have to assume anyone could be infected and
18     transmit that infection to another person.
19                                         Children in Detention Centers
20                  21. Texas is currently seeing an increase in COVID-19 cases and
21     hospitalizations. As of July 18, 2020, 325,030 cases have been reported with 3,958
22
23
24             26
               26 https://jamanetwork.com/journals/jama/fullarticle/2763852
               27
25             27 http://files.fast.ai/papers/masks_lit_review.pdf
                  http://files.fast.ai/papers/masks lit review.pdf
               28
               28 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cleaning-disinfection.html accessed
26   4/10/20
               29
                https://www.jwatch.org/na51616/2020/06/01/you-can-speak-and-sing-COVID-
                http
               29   s://www.jwatch.org/na51616/2020/06/01/you-can-speak-and-sing-COVID-
27   19?query=C19&cid=DM93011_NEJM_Registered_Users_and_InActive&bid=207638425
     19?query=C19&cid=DM93011 NEJM Registered Users and InActive&bid=207638425 accessed 6/6/20
             30
             30 Li R, Pei S, Chen B, et al. Substantial undocumented infection facilitates the rapid dissemination of novel
28   coronavirus (SAROVIS-CoV2). Science (New York, NY). 2020
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      DECLARATION OF CATHERINE
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 1     deaths.31 The 14-day trend of COVID-19 positive cases shows a 45% increase and
 2    testing positivity rates have increased from 13.0% to 16.3% over the last 14 days.
 3    Deaths, a lagging indicator, are increasing in the state as well.'
 4               22. In my expert opinion, one-time testing such as occurred on June 23, 2020
 5     and on entry to the facility with subsequent 14-day quarantine does not eliminate the
 6     possibility of transmission of SARS-CoV-2 within the facility. Someone who tests
 7    negative on the testing day may be incubating the virus and become infectious and able
 8    to infect others up to two weeks later. SARS-CoV-2 infection can be introduced into the
 9     facility by staff who acquired it in the community.
10               23. Transmission of SARS-CoV-2 occurs through airborne, aerosol, and fomite
11     routes (see paragraph 10). Probability of transmission from one person to another is
12     increased in 1) crowded situations, 2) confined spaces, and 3) crowds.33 Also increasing
13    the probability of transmission is the duration of contact between persons.34 All four of
14    these conditions are met in detention centers. Therefore, in my expert opinion, any
15     additional time in detention centers will increase the probability that a child will be
16     exposed to the virus and become infected.
17          I declare under penalty of perjury that the foregoing is true and correct.
18   Executed this 20th Day of July, 2020 in Houston, Texas.
19
20                                                                     L. 7---,,,
21
                                                  Catherine L. Troisi, Ph.D.
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25
             31 https://txdshs.maps.arcgis.com/apps/opsdashboard/index.html#/ed483ecd702b4298abOle8b9cafc8b83
     accessed 7/19/2020
26
             32 https://txdshs.maps.arcgis.com/apps/opsdashboardindex.html#/ed483ecd702b4298abOle8b9cafc8b83,

27   accessed 7/19/20
             33 https://www.nytimes.com/2020/06/06/health/virus-reopenings.html
28          34   https://www.cdc.gov/coronavirus/2019-ncov/php/public-health-recommendations.html
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      DECLARATION OF CATHERINE L. TROISI IN SUPPORT OF PROPOSED INTERVENORS' EX PARTE MOTION
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